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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA




MICHELLE SIPE and
JILL GROSS
                                         16cv0124
           Plaintiffs,                   LEAD CASE
                                         ELECTRONICALLY FILED
                   v.

AMERICAN CASINO &
ENTERTAINMENT PROPERTIES,
LLC,

           Defendant.

_____________________________________

MICHELLE SIPE and
JILL GROSS                               16cv0164
                                         MEMBER CASE
           Plaintiffs,                   ELECTRONICALLY FILED

                   v.

DECKERS OUTDOOR
CORPORATION,

            Defendant.
_____________________________________
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LEATRICE FULLERTON, MICHELLE
SIPE,
                                         16cv0228
           Plaintiffs,                   MEMBER CASE
                                         ELECTRONICALLY FILED
                   v.

REGIS CORPORATION,

            Defendant.
_____________________________________



SCOTT LACEY and MICHELLE SIPE,
                                         16cv0232
           Plaintiffs,                   MEMBER CASE
                                         ELECTRONICALLY FILED
                   v.

COLLECTIVE BRANDS, INC.,

            Defendant.
____________________________________
SCOTT LACEY AND
MICHELLE SIPE,
                                         16cv0246
           Plaintiffs,                   MEMBER CASE
                                         ELECTRONICALLY FILED
                   v.

GENESCO, INC.,

            Defendant.
___________________________________
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DEBRA ROZEAR AND
MICHELLE SIPE,                                     16cv250
                                                   MEMBER CASE
              Plaintiffs,                          ELECTRONICALLY FILED

                      v.

SALLY BEAUTY HOLDINGS, INC,

            Defendant.
_____________________________________

JESSICA HODGES, MICHELLE SIPE

              Plaintiffs,                          16cv0267
                                                   MEMBER CASE
                      v.                           ELECTRONICALLY FILED

METLIFE, INC.,

            Defendant.
_____________________________________

MICHELLE SIPE, R. DAVE NEW,
and ACCESS NOW, INC., a not-for-profit
corporation,                                       16cv0314
                                                   MEMBER CASE
              Plaintiffs,                          ELECTRONICALLY FILED

                      v.

HARBOR FRIEGHT TOOLS, USA, INC.,

              Defendant.


                                   ORDER OF COURT

     IT IS HEREBY ORDERED that the parties shall proceed as follows:

     1.      Civil Action Nos. 16-164, 16-228, 16-232, 16-246, 16-250, 16-267, and 16-314

             are hereby consolidated with Civil Action No. 16-124, the lead case as captioned

             above.
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2.      All pleading, motions, and other papers hereafter filed shall be filed at Civil

        Action No. 16-124.

3.      The Clerk of Court shall close Civil Action Nos. 16-164, 16-228, 16-232, 16-246,

        16-250, 16-267, and 16-314.

                                       SO ORDERED this 1st day of April, 2016.

                                       s/Arthur J. Schwab
                                       Arthur J. Schwab
                                       United States District Judge
